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      Tennman Productions, LLC; Justin Timberlake;
10    Spears King Pole, Inc.; and Britney Spears
11
                          UNITED STATES DISTRICT COURT
12
                        CENTRAL DISTRICT OF CALIFORNIA
13
14
      LARGE AUDIENCE DISPLAY                   )   Case No. CV 11-03398 R (RZ)
15                                             )
      SYSTEMS, LLC,                            )
16                                             )   DECLARATION OF ANDREW S.
                  Plaintiff,                   )
                                               )   LANGSAM IN SUPPORT OF
17          vs.                                )   DEFENDANTS’ MOTION FOR
18                                             )   RECOVERY OF ATTORNEYS’
      TENNMAN PRODUCTIONS, LLC,                )
                                               )   FEES, COSTS, AND EXPENSES
19    JUSTIN TIMBERLAKE, BRITNEY               )
20    TOURING, INC., BRITNEY SPEARS,           )
      STEVE DIXON and MUSIC TOUR               )
21                                             )
      MANAGEMENT, INC.,                        )
22                                             )   Hearing:
                  Defendants.                  )   Date: To Be Determined
23                                             )   Time: 10:00 a.m.
                                               )   Place: Courtroom 880
24                                             )          Roybal Federal Building
                                               )
25                                             )
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27
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     Case 2:11-cv-03398-R-ADS Document 261 Filed 04/28/17 Page 2 of 4 Page ID #:4785




 1                    DECLARATION OF ANDREW S. LANGSAM
 2    I, Andrew S. Langsam, hereby declare as follows:
 3          1.     I am a partner with the law firm of Pryor Cashman LLP (“Pryor
 4    Cashman”), counsel of record for Defendants Tennman Productions, LLC, Justin
 5    Timberlake, Britney Spears, and Spears King Pole, Inc. (collectively, “Defendants”)
 6    in the above-captioned action. I have personal knowledge of the facts set forth in
 7    this Declaration, except for those matters stated to be based upon my information
 8    and belief, and if called upon to do so I could and would competently testify
 9    thereto.
10          2.     I submit this Declaration in support of the concurrently filed Reply
11    Brief in Support of Motion for Recovery of Attorneys’ Fees, Costs, and Expenses.
12          3.     Attached hereto as Exhibit A is a true and correct copy of the Pryor
13    Cashman website biography of partner Andrew S. Langsam.
14          4.     Attached hereto as Exhibit B is a true and correct copy of the Pryor
15    Cashman website biography of partner Michael J. Niborski.
16          5.     Attached hereto as Exhibit C is a true and correct copy of the Day
17    Pitney LLP website biography of former Pryor Cashman associate Ryan S.
18    Osterweil.
19          6.     Attached hereto as Exhibit D is a true and correct copy of the archived
20    Pryor Cashman website biography of former associate Stephanie R. Kline.
21          7.     Attached hereto as Exhibit E is a true and correct copy of the Kane
22    Kessler, P.C. website biography of former Pryor Cashman partner Barry E. Negrin.
23          8.     Attached hereto as Exhibit F is a true and correct copy of the Pryor
24    Cashman website biography of partner Brad D. Rose.
25          9.     Attached hereto as Exhibit G is a true and correct copy of the Cowan,
26    Liebowitz & Latman, P.C. website biography of former Pryor Cashman associate
27    Dasha Chestukhin.
28                                             1
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 1            10.   Attached hereto as Exhibit H is a true and correct copy of the archived
 2    Pryor Cashman website biography of former associate Erich C. Carey.
 3            11.   Attached hereto as Exhibit I is a true and correct copy of the Pryor
 4    Cashman website biography of special counsel (and, previously, associate) Sarah E.
 5    Bell.
 6            12.   Attached hereto as Exhibit J is a true and correct copy of the Pryor
 7    Cashman website biography of partner Perry M. Amsellem.
 8            13.   Attached hereto as Exhibit K is a true and correct copy of the Pryor
 9    Cashman website biography of associate Elizabeth S. Warner.
10            14.   Attached hereto as Exhibit L is a true and correct copy of the Pryor
11    Cashman website biography of associate Rebecca Rothkopf.
12            15.   Attached hereto as Exhibit M is a true and correct copy of the
13    archived Pryor Cashman website biography of former associate Leighton E.
14    Dellinger.
15            16.   Attached hereto as Exhibit N is a true and correct copy of the archived
16    Pryor Cashman website biography of former partner James R. Klaiber.
17            17.   Attached hereto as Exhibit O is a true and correct copy of the Pryor
18    Cashman website biography of partner Robert J. deBrauwere.
19            18.   Attached hereto as Exhibit P is a true and correct copy of the
20    Martindale.com attorney profile of former Pryor Cashman counsel Mark A.
21    Tamoshunas.
22            19.   Attached hereto as Exhibit Q is a true and correct copy of the Pryor
23    Cashman website biography of special counsel Philippe Zylberg.
24            20.   Attached hereto as Exhibit R is a true and correct copy of the Pryor
25    Cashman website biography of associate Darius K.C. Zolnor.
26            21.   The biographies attached hereto reflect the expertise and number of
27    years of experience of each individual attorney who billed time to this matter.
28                                              2
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 1          I declare under penalty of perjury that the foregoing is true and correct. This
 2    declaration is executed on April 28, 2017, at New York, New York.
 3
 4                                          /s/ Andrew S. Langsam_________________
                                            Andrew S. Langsam
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